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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

   NEXPOINT STRATEGIC                               §
   OPPORTUNITIES FUND,                              §
                                                    §
   Plaintiff,                                       §
                                                    §
   v.                                               §    Cause No. __________________________
                                                    §
   ACIS CAPITAL MANAGEMENT, L.P.,                   §
   U.S. BANK, N.A., JOSHUA N. TERRY,                §
   BRIGADE CAPITAL MANAGEMENT,                      §
   L.P.,                                            §
                                                    §
   Defendants.                                      §

                                    ORIGINAL COMPLAINT

                                                  I.

                                         INTRODUCTION

          Plaintiff NexPoint Strategic Opportunities Fund (“NexPoint” or “Plaintiff”) respectfully

  files this action to recover damages caused by the gross malfeasance of Defendants U.S. Bank

  National Association (“U.S. Bank”), as a trustee, and Acis Capital Management, L.P. (“Acis”

  or “Acis”), Brigade Capital Management, LP (“Brigade”), and Joshua N. Terry (“Terry”), as

  registered investment advisors (“RIAs”, together with U.S. Bank, “Defendants” and each a

  “Defendant”). The Defendants are jointly and severally liable for mismanaging certain

  collateralized loan obligations that NexPoint invested in. The acts and omissions which have

  recently come to light reveal breaches of fiduciary duty, a pattern of violations of the Investment

  Advisers Act of 1940 and the Trust Indenture Act of 1939, and conversion, among others, which

  have caused and/or likely will continue to cause Plaintiff damages.

         At all relevant times, the Defendants have managed and advised ACIS CLO-2014-2, Ltd.,

  (“ACIS 2”), ACIS CLO-2014-3 Ltd. (“ACIS 3”), ACIS CLO-2014-4 Ltd. (“ACIS 4”), ACIS


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  CLO-2014-5 Ltd. (“ACIS 5”), and ACIS CLO-2015-6, Ltd. (“ACIS 6”) (any two or more, the

  “CLOs”). In a classic “let’s rob Peter to pay Paul” scheme, the RIAs have—and the Trustee has

  allowed the RIAs (for their own sole benefit):

        •   Knowingly charge the CLOs exorbitant amounts of “expenses” without accountability
            or justification;

        •   Knowingly cause the CLOs to purchase loans that fail to meet credit quality tests and
            average life test, and caused the entire portfolio to fail the applicable collateral quality
            tests;

        •   Knowingly cause the CLOs to sell valuable assets cheaply; and

        •   Knowingly breach industry standards for best execution when buying and selling.

        Furthermore, U.S. Bank knowingly breached the provisions of the CLOs’ indentures by

 failing to object to and by not allowing the noteholders to vote on the entry of Plan D as part of

 the Chapter 11 Trustee’s Joint Plan in the Acis Bankruptcy, 1 which contains provisions that

 adversely affect the noteholders and equity of the CLOs and their ability to make optional

 redemptions from the CLOs.

        To put it simply, since February 16, 2019, forward, through the combined effect of the

 above malfeasance, Defendants have wiped out more than $50 million in value from the CLOs

 and have hamstrung NexPoint from recouping its investments in the CLOs.

        The impact on NexPoint is substantial. It owns $5 million of ACIS 3’s Class-F debt

  tranche, and approximately $7.5 million of the equity of ACIS 6. Defendants have caused the

  net asset value of the equity of ACIS 3 to be completely wiped out, which losses have now crept

  up into the Class-F Tranche of ACIS 3. That debt is worth 40 cents on the dollar. Defendants


   1
     On January 31, 2019, in a consolidated adversary proceeding involving the Acis CLOs, the United
 States Bankruptcy Court for the Northern District of Texas entered a Third Amended Joint Plan for Acis
 Capital Management, L.P. and Acis Capital Management GP, LLC (“Plan D”). See Case No. 18-30264-
 SGJ-11 and Case No. 18-30265-SGJ-1, Jointly Administered Under Case No. 18-30264-SGJ-11), referred
 to herein as the Adversary Proceeding.


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  have also caused the net asset value of the ACIS 6 equity to be worth a mere 30 cents on the

  dollar. Defendants have thus caused Plaintiff to suffer over $8 million in losses.

        These are not just ephemeral numbers. Plaintiff represents the interests of thousands of

  investors who rely on the promised security of these types of investments to provide cash flow

  and to fund things like retirements and college tuitions. Plaintiff invested in the CLOs because,

  if managed in the way provided for in the indentures and portfolio management agreements

  (“PMAs”), they are secure and relatively safe, diversified investments.

        The economic purpose is obliterated where, as here, the RIAs manage the CLOs for their

  own ends, extending the life of the existing portfolio so as to maximize fees and prohibiting the

  noteholders from making redemptions. Meanwhile, the trustee, U.S. Bank, looks the other way

  (whether intentionally or negligently) while the value of the CLOs is decimated. The

  Defendants are legally obligated fiduciaries who have to look out for the best interests of the

  advised funds, i.e., the CLOs and their investors.

                                                 II.

                                         THE PARTIES

        1.      Plaintiff NexPoint Strategic Opportunities Fund (“NexPoint”), a Delaware

 statutory trust, is a closed-end retail fund managed by NexPoint Advisors, L.P. Its principal place

 of business is in Dallas, Texas. Interests in NexPoint trade on the New York Stock Exchange

 (NYSE: NexPoint).

        2.      Joshua N. Terry is an individual resident of Texas located at 3509 Princeton

 Avenue, Dallas, Texas, 75205, who may be personally served wherever he may be found. Terry

 is the owner and President of Acis.

        3.      Defendant Acis Capital Management, L.P. (“Acis”) is a Delaware limited




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 partnership. Acis may be served through its registered agent Capitol Services, Inc., located at

 1675 S. State Street, Suite B, Dover, Delaware 19901, or wherever it may be found. Acis is a

 registered investment advisor.

        4.      Defendant Brigade Capital Management, LP is a Delaware limited partnership

 that is registered to do business in New York, with its principal place of business in the state of

 New York. Brigade may be served through Donald E. Morgan III, 399 Park Avenue, 16th Floor,

 New York, New York, 10022, or wherever it may be found. Brigade is a registered investment

 advisor.

        5.      Defendant U.S. Bank, N.A. (“U.S. Bank”, also, the “Indenture Trustee” or

 “Trustee”) is a national banking association that is Trustee of the Acis Indentures, as defined

 further herein. Defendant U.S. Bank may be served at its corporate office located at 190 South

 LaSalle Street, 8th Floor, Chicago, IL 60603, or wherever it may be found.

                                                III.

                                  JURISDICTION AND VENUE

        6.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331 because one or

 more claims “arises under” federal law—namely, the Investment Advisers Act of 1940 and the

 Indenture Trust Act of 1939 (as amended). This Court also has original jurisdiction over all

 claims alleging violations of the Advisers Act or its regulations or commission rules, and venue

 is proper herein for same under 15 U.S.C. § 80b-14. All such other claims are properly before

 this Court under its supplemental jurisdiction supplied by 28 U.S.C. § 1367.

        7.      Personal jurisdiction and venue over Acis and U.S. Bank are proper because the

 governing documents—the indentures and portfolio management agreements—to which they are

 bound, required them to agree to submit to the jurisdiction of New York and to waive any




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 objection to New York as a forum and venue. Both Defendants are authorized to and do regularly

 conduct business in the state of New York and are accused of torts directed at the state of New

 York, at least in part. Furthermore, the acts and/or omissions giving rise to the causes of action

 herein occurred in whole or in part in this District and affect property situated in this District.

         8.      Jurisdiction and venue over Brigade are proper in this district because Brigade is

 registered to do business in New York, and the transactions and occurrences that are the subject

 of NexPoint’s claims against Brigade, including certain advice, communications, and trading

 activity with brokers or dealers, took place in whole or in part in this District.

         9.      Jurisdiction and venue over Terry are proper in this District because Terry is bound

 by the indenture clauses cited above, and he committed torts that are the subject of NexPoint’s

 claims against him that occurred within or were directed to New York, including through certain

 trading activity with brokers or dealers within New York or to New York.

                                                  IV.

                                   FACTUAL BACKGROUND

 A. A BRIEF PRIMER OF THE ACIS CLOS

         10.     In order for one unversed in the business to appreciate the issues raised in this

 lawsuit, Plaintiff introduces the relevant players, relationships, and terms in the business of

 “collateralized loan obligations” or “CLOs” as they pertain to the Acis CLOs.

         11.     The CLOs were intended as investment vehicles whereby a special purpose issuer

 entity raises equity funds from one or more equity investors, and then raises additional cash in

 the form of debt, usually from the public markets by issuing notes to third-party investors

 (collectively, the “CLO Notes”).

         12.     The debt, as it often is, was arranged in tranches, whereby the most senior debt




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 bears the lowest coupon rate (i.e., interest) but is paid back first, and so is the least risky; and the

 most junior debt is paid the highest coupon but is paid next-to-last (before the equity), and so it

 is the riskiest of the debt tranches. Last to be paid (behind all the debt)—and taking on defaults

 first--is the equity. The character of incoming funds cascading down the tranches to pay the debt

 in descending seniority order, and then the equity last, is frequently referred to as the “payment

 waterfall.”

         13.     The pool of cash raised from the issuance of the debt and equity was then used to

 purchase a mixture of publicly available, floating rate, senior-secured debt instruments issued by

 corporations (altogether, “CLO Assets”).

         14.     The CLO Assets become the source of the cash flow to pay the CLO’s expenses,

 then the CLO’s noteholders’ principal and interest payments due on the CLO Notes. And

 typically, the rest was paid to the equity holders on a quarterly basis.

         15.     Thus, the equity holders took on the most risk but were the beneficiaries of the

 spread between the incoming cash flows from the CLO Assets, minus the operating expenses and

 the interest on the CLO Notes, due to the respective debt tranches.

         16.     The key parties to this transaction’s success or failure are the portfolio manager,

 the adviser, and the indenture trustee.

         17.     The document that binds the parties – the issuer, the noteholders, the equity, the

 portfolio manager, and the indenture trustee—is a contract referred to as an “indenture.”

         18.     The portfolio manager’s role is two-fold: The first is to identify and purchase the

 CLO Assets, and to do so in a manner that creates the requisite cash flow to meet the CLOs debt

 service requirements (i.e., that it meets the payout, diversification, credit quality and average life

 requirements), while not exposing the CLO to non-market risks. The second is to monitor the




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 CLO Assets to ensure that over time, the individual CLO Assets continue to meet various

 collateral quality tests designed to ensure that the CLO can meet its debt service requirements

 and still produce income for the CLO’s equity holders. This usually requires the portfolio

 manager to monitor each of the assets in order to ensure that the CLO has a mix of assets in

 different industries or markets, with differing maturity dates within acceptable risk profiles, and

 within a variety of credit ratings. This often means selling assets that are deteriorating and buying

 assets that are superior to assets in the portfolio. Otherwise, investing too much of the portfolio

 in any one of these categories exposes the CLO to too much risk and to losses.

        19.     The portfolio manager is typically subject to an agreement separate from the

 indenture called the portfolio management agreement, or “PMA.” The portfolio manager also

 often serves as the investment advisor (or hires an advisor), who may also outsource or delegate

 certain functions to a sub-advisor. Advisors are required to be “Registered Investment Advisors”

 under federal law, which imposes a strong fiduciary duty on them as discussed below. One of

 those duties is to maintain the best interest of the investors and to make decisions on investment

 that is suitable to the investors’ assumption of risk.

        20.     The indenture is governed by federal law—namely, the Trust Indenture Act of

 1939, and the Trust Indenture Reform Act of 1990, as well as their enacting regulations.

        21.     Pursuant to these laws, the indenture trustees are required by federal law to

 safeguard the interests of the investors (debt and equity), as a watchdog of sorts to ensure the

 portfolio manager’s compliance with the indenture, and with good and sound collateral

 management practices.

        22.     The law imposes a fiduciary duty and a “prudent person” standard on indenture

 trustees, which governs their performance of their duties under the indenture.




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         23.     The role of the indenture trustee is critical because the portfolio manager is paid

 as a percentage of “assets under management,” or “AUM,” which is determined by the face value,

 or par, of the debt instruments owed.

         24.     Because the asset management and advisory fees are a percentage of the par value

 of the CLO Assts, if left unchecked, the portfolio manager is incentivized to purchase instruments

 with the highest par value irrespective of their quality. That way, the portfolio manager can

 achieve the largest par value in aggregate as possible and, thus, the largest fees. Because lower-

 credit-quality instruments are cheaper than higher credit instruments, a -portfolio manager could

 spend the cash pool on lower-quality, younger instruments because it could buy more of them

 and therefore manipulate its fee structure. Despite exposing the CLO to greater risk due to longer

 maturities and lower credit ratings, the portfolio manager would actually earn more fees this way

 and for a longer period of time.

         25.     The indenture trustee’s job is, in part, to prevent that from happening by

 monitoring changes in the CLO Assets and in the portfolio’s credit quality and maturity.

         26.     To that end, it has tools for ensuring the security and soundness of the CLO Asset

 pool, such as the metrics called the “WARF” and the “WAL”.

         27.     The “WARF” or the “weighted average rating factor” determines what the credit

 quality of the entire portfolio is. The credit quality of the pool of assets can be adjudged by taking

 the ratings of each debt issuance held by the CLO, relative to the amount of that bond issuance

 as a percentage of the total portfolio and aggregating those to a factor of the total notional balance

 of the portfolio. The better the WARF, the lower the risk to the CLO’s investors.

         28.     The WAL or the “weighted average life” test is another metric that judges the

 riskiness of the entire portfolio with respect to the time until the principal is repaid.




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          29.    The WAL is the average number of years for which each dollar of unpaid principal

  on an investment remains outstanding. Generally, investors want to be paid back sooner rather

  than later.

          30.    And because no one can see that far into the future, longer payouts typically mean

  exposure to greater risk because of unforeseen circumstances such as inflation, default risk, or

  the issuer calling the notes. Thus, the better the WAL (i.e., the shorter maturity dates,) the lower

  the risk to the CLOs investors.

          31.    Together, the WARF and the WAL serve as a shorthand way to judge whether the

  pool of CLO Assets is getting too risky.

          32.    Thus, the indenture trustee has several metrics that it can and should use to

  monitor the activity of the portfolio manager in order to protect the CLO investors, debt and

  equity alike (generally, by protecting the equity, the trustee as a matter of course will protect the

  noteholders who get paid before equity).

  B. NexPoint Invests in THE ACIS CLOS

          33.    The Acis CLOs are issuers under the above rubric. Acis is the Portfolio Manager.

  Terry is President of Acis, an entity which he also owns and for which he serves as the primary

  advisor. and Brigade is the sub-advisor to Terry and Acis.

          34.    Between 2014 and 2016, NexPoint became a secured noteholder and beneficiary

  under the indenture for Acis CLO 2014-3 Ltd., as issuer, and Acis CLO 2014-3 LLC, as co-issuer

  (together “ACIS-3”). The value of the Series-F notes purchased was approximately $5,000,000.

          35.    During that time period, NexPoint also became an equity holder under the

  indenture dated April 16, 2015, among Acis CLO 2015-6 Ltd., as issuer, and Acis CLO 2015-

  6 LLC as co-issuer (together “ACIS-6”). The value of the equity was approximately $7,500,000.




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         36.      U.S. Bank agreed to serve as the Trustee for these ACIS indentures, with Acis as

  the portfolio manager, and Highland Capital Management L.P. as the sub-adviser.

         37.      NexPoint made these investments as part of its mission and as a relatively secure

  and safe investment on behalf of its investors.

         38.      NexPoint is a party to the indentures for ACIS-3 and ACIS-6 (the “Acis

  Indentures”).

         39.      The Acis Indentures impose a number of obligations on Acis as Portfolio Manager

  and on U.S. Bank in connection with its role as Trustee.

         40.      Separately, the Portfolio Management Agreements (the “PMAs”) between the

  Acis CLOs and Acis impose obligations on Acis in connection with its role as Portfolio Manager

  and also impose a liability on the Trustee as a third-party beneficiary to the PMAs. In general,

  the PMAs provide that, subject to the terms of the Acis Indentures, Acis is obligated to

  “supervise and direct the investment and reinvestment of the Assets” and to “monitor the

  Assets.”

         41.      As of August 2018, when Terry took over Acis, Acis continued to serve as PM to

  the Acis CLOs, but had Terry as the advisor.

         42.      Acis, as a result of it having no apparent employees nor wherewithal to manage

  the Acis CLOs itself, retained Brigade to assist it and its principal Terry in providing these

  portfolio management services as a sub-advisor.

         43.      Acis, Brigade, and Terry are registered investment advisors, all subject to the

  Investment Advisors Act of 1940 (the “Advisors Act”) (Acis, Brigade, and Terry, the “RIA

  Defendants”).

         44.      As part of the Acis bankruptcy proceeding under Case No. 18-30264-SGJ-11 (the

  “Acis Bankruptcy”), in which Terry became 100% owner of Acis (as well as its President and


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  owner of its general partner), 2 the United States Bankruptcy Court for the Northern District of

  Texas formally approved Acis’s appointment of Brigade as sub-advisor and shared services

  provider to Acis in connection with Acis’s management of the Acis CLOs.

         45.     Brigade has provided these services at all pertinent times through the present.

         46.     As a sub-advisor, Brigade is the agent of Acis and, therefore, of the Acis CLOs.

  Upon information and belief, Terry needed help managing the Acis CLOs, and he retained

  Brigade to provide advisory services, as well as back-and middle-office functions, including, but

  not limited to, accounting, payments, operations, technology, and finance, among other things,

  in connection with Acis’s obligations under the PMAs.

         47.     Terry also employed Brigade to provide assistance relating to the negotiation and

  execution of any documents necessary to acquire or dispose of an asset under the PMAs.

         48.     Further, Terry delegated certain tasks related to the Acis CLOs to Brigade,

  including, but not limited to, research services, strategy, identifying potential assets, buyers and

  sellers of same, modeling of ratings, default, and price scenarios as needed. In providing these

  critical portfolio management services for the Acis CLOs, Brigade works directly with and for

  Terry. Terry testified in the Acis bankruptcy proceedings that this was the intention.

         49.     Given Brigade's extensive level of involvement of the portfolio management of the

  CLOs, Brigade's conduct, and by extension Acis’s conduct through Terry's direction and control,

  severely and adversely impacts the collateral portfolios in which NexPoint is a noteholder and

  equity holder under the Acis CLOs.

         50.     As of February 20, 2019 (and also prior to Acis’s emergence from bankruptcy),

  Brigade had charged Acis fifteen basis points on total Acis CLO assets under management for


    2
     The two case numbers in the consolidated Bankruptcy Proceeding include Case Nos. 18-30264-SGJ-11
  and 18-30265-SGJ-11.


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  these portfolio management services, a fee which Brigade represented it negotiated in good faith

  with Acis. In short, it is paid like another portfolio manager or advisor.

          51.     Of note, although Terry effectively approves all trading activity for the Acis

  CLOs, Terry and Acis have no executive level employees aside from Terry, and upon information

  and belief, they do not have the wherewithal to effectively manage the investment vehicles. As

  President and owner of Acis, Terry exercises complete dominion over Acis. With no chain of

  command besides himself at Acis, Terry answers to no one but himself and his greed.

          52.     Prior to the Acis Bankruptcy (and for a period of time up until August 2, 2018),

  the Acis CLOs were managed by Highland Capital Management L.P. (“Highland”), which served

  as sub-advisor to Acis.

          53.     One of the original investment vehicles, Acis CLO-7, continued to be managed by

  Highland after the RIA Defendants took over control of the Acis CLOs.

          54.     Effective February 15, 2019, the Bankruptcy Court issued an order that purported

  to release any claims against Acis or Terry that had accrued prior to that date and enjoined any

  lawsuit being filed by any entity or person against Acis or Terry to recover for any claims that

  accrued prior to that effective date (the “BK Order”). 3

          55.     The BK Order, through Plan D, imposes several provisions that directly affects the

  noteholders of the CLOs. Among other restrictions, Plan D impedes the ability of the equity and

  noteholders to make optional redemptions and therein prohibits beneficial trading that would serve

  to protect the noteholders’ interest. Put differently, the noteholders are stuck with Acis against

  their will, and Acis has captured the CLOs for the time being.




    3
      That release is the subject of an appeal, and if overturned, may cause certain released claims to be added
  later.


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         56.     Since February 15, 2019, and moving forward, the Acis CLOs have been managed

  and advised by Acis, Terry and Brigade subject to the PMAs and indentures.

         57.     Under the indentures and PMAs, the RIA Defendants must “comply with all

  [applicable] terms and conditions of the [Acis Indentures]” and “perform [their] obligations . . .

  in good faith and with reasonable care”.

         58.     The applicable “terms and conditions” of the Acis Indentures include an

  obligation to ensure compliance with the collateral quality tests described above.

         59.     Furthermore, the PMAs at Section 8 prohibit the portfolio manager from “taking

  any action that would intentionally or with reckless disregard… which would knowingly and

  willfully and adversely affect the interest of the Holders in the Assets in any material respect,” 4

  unless approved in writing by the Board of Directors of the Issuer and a majority of both the

  controlling class and the subordinate noteholders.

         60.     The PMAs hold Acis liable for its acts or omissions, including, but not limited to,

  acting in bad faith, willful misconduct, gross negligence, or reckless disregard in the performance

  of its obligations under the Acis indentures.

         61.     Critically, Section 11(a)(i) of the PMAs expressly holds Acis liable for any

  decrease in the value of the CLOs that was accomplished by bad faith, willful misconduct, gross

  negligence or reckless disregard in the performance of its obligations.

         62.     As Portfolio Manager, Acis, through Terry and sub-advisor Brigade, were aware

  that Acis, Terry and Brigade performed services for the Acis CLOs for a particular purpose.




    4
     See Portfolio Management Agreement between Acis CLO 2015-6 and Acis Capital Management, L.P.
  Section 8, page 15.


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         63.      Likewise, the Portfolio Manager had further awareness that secured noteholders

  and the equity holders under the Acis CLOs, like NexPoint, relied on Acis and Brigade to perform

  services in furtherance of their particular purpose of managing the portfolio of the Acis CLOs.

         64.      The RIA Defendants understood that noteholders and equity interest holders under

  the Acis CLOs, including Plaintiff, relied on them to perform services in furtherance of their

  particular purpose of managing the portfolio of the Acis CLOs.

         65.      Despite the extra-contractual duties that the RIA Defendants owe to Plaintiff as

  of, and in furtherance of clear and impermissible conflicts of interest, from February 16, 2019 to

  the present, the RIA Defendants caused the Acis CLOs to incur astronomically unprecedented

  expenses well outside historical expense patterns in the Acis CLOs and very clearly outside

  market and industry norms, as discussed in more detail below.

  C. HOW DID THE RIAS DECIMATE THE ACIS CLOS’ VALUE?

         66.      Since February 15, 2019, and moving forward, few payouts have been made to

  equity holders despite a history of consistent distributions during the years Highland managed

  them, and the equity holders, by means of Plan D, have been prevented from forcing redemptions

  in the funds.

         67.      Since February 15, 2019, under Acis’s and Brigade’s “management” of the Acis

  CLOs, the WARF of the portfolios has become one of the dirtiest pools in the market.

  Specifically, as of October 2019 and through December 2020, the WARF of each such indenture

  has dramatically worsened, as follows:

                                       ACIS 3: 2522---> 2678
                                       ACIS 6: 2627 ---> 3055

  Counterintuitively, the higher the number, the worse the “WARF.”




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          68.     This should not have happened given that, normally over time, the CLO

  noteholders (the senior debt) are paid off. As that happens and there is less debt to unencumber

  the equity, the equity becomes less risky, and thus, more valuable. The benefit would be realized

  at the junior tranches, and the equity holders would receive less-levered, lower interest payments

  but those investors’ residual principal value would have more certainty. The opposite happened

  here.

          69.     Furthermore, as shown below, Acis replaced shorter term debt with longer terms,

  extending the WAL of the entire portfolio.

          70.     By keeping the average life extended and avoiding prepayments, (1) risk increased,

  (2) residual principal value fell, and (3) interest accrued for an artificially longer period.

          71.     Thus, the Acis CLOs’ values have been decimated due to these tactics, as explained

  more fully below. Yet, meanwhile, at the same time, the revenues and profits to Acis and Terry

  have become inflated due to increased fees, the exorbitant-but-unexplained and unaccounted for

  expenses foisted on the Acis CLOs, and the protected, extended life of the CLOs.

          72.     The value of the CLOs is referred through a net-asset-value assessment, or “NAV”

  of the equity. Because the equity is junior to all debt, healthy equity signifies healthy debt.

  Unhealthy equity, or worse, equity that has been wiped out, signals potential default to at least the

  junior debt tranches.

          73.     The Acis CLOs’ NAV over time (counting the distributions made to equity) can

  be seen via the following graphic illustration:




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         74.     Accordingly, the NAV of the ACIS-3 equity has been completely wiped out. The

  Series-F tranche of debt owned by NexPoint has been reduced to 40 cents on the dollar.

         75.     As shown in the illustration, the NAV of ACIS-6 equity is approximately 30 cents

  on the dollar (as of April 1, 2021).

         76.     It is no wonder that national rankings of CLOs have every Terry-managed CLO at

  the bottom of their list as the worst performing.

         77.     Yet, despite having similar profiles and investment goals as the other Acis CLOs

  at its inception, the Highland-managed ACIS-7 did remarkably well, returning almost 100 cents

  on the dollar. While Acis is likely to blame COVID for the downfall of its performance, the

  relative performance of ACIS-7 should debunk that excuse fairly readily.

         78.     Plaintiff has been able to discern four primary ways that the RIAs have decimated

  the value of the Acis CLOs.



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     1. Mis-Accruing and Mis-Allocating Expenses

         79.     Prior to Terry and Brigade advising the Acis CLOs, the Acis CLOs paid out

  millions of distributions to the equity holders, and expenses, as a percentage of those distributions,

  were remarkably low.

         80.     The expenses saddled on the Acis CLOs since February 15, 2019, have been

  nothing short of impressive. They literally inverted the relative cost-to-distributions ratio that had

  been in place for years prior.

         81.     The following graphic depicts that inexplicable inversion:




         82.     The below chart further illustrates the expenses and distributions paid before Terry

  and Brigade took over advising and managing the Acis CLOs:




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  The ratio was approximately $13 million in equity distributions to shareholders versus less than

  $900,000 in expenses, or 14.4 to 1 distributions to expenses.

         83.     The expenses paid after Highland’s removal are reflected here:




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         84.     The equity distributions since Highland was removed are here:




         85.     Since the RIA Defendants have taken over managing the Acis CLOs, the

  distributions-to-expense ratio has thus fallen from what it used to be, 14–1, to what it is now, an

  anemic 0.25–1.

         86.     Because of the way these CLOs have been managed, the expenses were distributed

  proportionately amongst the Acis CLOs, thereby impacting ACIS-3 and ACIS-6, pro rata.

         87.     Assuming that remains true, and given the amount of revenue that Acis is supposed

  to have earned, which was about $12 million, Acis has taken well over $24 million in revenue

  through its manipulation of the portfolio and expenses.




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         88.     Relevant to this case, from May 2019 through May 2020, the Acis CLOs (Acis 3

  through 6) accrued over $22 million in revenue:




         89.     The Acis CLOs had never incurred such profoundly high expenses and fees to

  Acis. This includes roughly $2.3 million in extra profits to Acis, as well as substantial legal fees

  incurred by Acis itself (not by the CLOs, and not for the benefit of the CLOs). For it to all come

  at the expense of the investors in Acis CLOs 3 through 6 is gobsmacking.

         90.     Meanwhile, the Indenture Trustee has done nothing about it, despite having been

  warned several times.

         91.     That they were incurred by the RIAs, who are defendants in this case, only after

  they had secured through the Acis Bankruptcy certain protections for themselves against

  redemptions, gives rise to a strong inference that they are not properly allocated as Acis CLO

  expenses. Rather, they are something else.

         92.     That Acis has represented these expenses as having been charged on behalf of, or

  for the benefit of, the managed Acis CLOs, and then unilaterally collected those expenses under

  the same pretense, gives rise to a strong inference that the RIA Defendants (as defined herein)

  knowingly misrepresented the nature and proper allocation of these expenses.




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          93.    That the RIA Defendants have complete control over this information and have not

  disclosed it, while misrepresenting the nature of the fees and expenses, is a bad-faith manipulation

  of their duties and rights under the Acis Indentures and the PMAs.

      2. The Scheme to Manipulate Advisory Fees

          94.    Because of the life cycle of a CLO, the Acis CLOs are currently outside the period

  of reinvestment. Therefore, the CLOs are stuck with the collateral they have.

          95.    The problem is that prior to the close of the reinvestment period, Defendants have

  caused the CLOs to buy and hold collateral that would not have qualified for the risk parameters

  delineated in the PMAs and indentures.

          96.    Certain loans have maturity dates further out than what is necessary or appropriate.

  Certain loans simply lacked the creditworthiness on their own to qualify. The purchase of these

  loans violated the PMAs, as well as the course of performance, and good industry practices.

          97.    Equally important, the purchase of these loans violated the requirements in the

  indentures and the PMAs that any trading should maintain or improve the credit quality of the

  portfolio.

          98.    This has caused the Acis CLOs to suffer substantial losses. Several examples are

  shown here.

          99.    Chief Power. Throughout the relevant time period, Defendants held the Chief

  Power loan which bore a very dismal Caa1/B- rating when it initially purchased in 2019. Critically,

  it had a December 2020 maturity date. The lack of creditworthiness of the loan is evidenced not

  only by its low credit rating, but also by the fact that it was not refinanced when it could have been

  in 2018-2019. The loan was then downgraded to Caa2/CCC in late 2019. It was only then that

  Defendants went on to sell this loan at 51 cents on the dollar within a year, locking in $4.7mm of

  realized losses to the Acis CLOs. The manager had purchased this loan with a Dec 2020 (1+ year)


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  maturity date on the same day it bought multiple loans with 2025 (6+ year) and 2024 (5+ year)

  maturities. This is important because the 2025 and 2024 loans do not maintain or improve failing

  WAL Tests in existence at the time of purchase. However, the addition of Chief Power was plainly

  to generate the appearance of a blended WAL that did maintain or improve the failing WAL Test.

  This type of chicanery is not allowed nor is it in the spirit of the CLOs’ indentures, and ended up

  directly leading to almost $5 million in losses to the Acis CLOs. There was no pro-investor

  justification for how Defendants managed this investment.

         100.    Glass Mountain Pipeline. Defendants purchased $2 million of this loan in April

  2019 on a single day (April 30, 2019). It had B3/B ratings at the time of purchase, indicating

  heightened credit risk, and also had a December 2024 maturity date, which was 5.5+ years from

  when it was purchased. The WAL Tests for the CLOs that bought this were failing at this time,

  meaning a loan purchased needed to main or improve the failing WAL Tests, which were all

  standing at 4.0 years or shorter. This was a purchase that in addition to heightened credit risk and

  increasing the average maturity date of the portfolios, also violated the CLOs’ indentures’ credit

  quality requirements. Similar to other situations, Defendants bought nineteen loans on a single

  day, likely in a scheme to circumvent the WAL test restrictions. The loan is currently still held in

  the portfolios and is quoted in the low 20s due to a continuing and apparently uncurable default,

  which is a $1.5 million in losses to the Acis CLOs. Defendants should have known and foreseen

  this risk because of the low credit ratings. Had Defendants abided by the indenture and PMA

  requirements, as well as prudent investing standards, these losses to the Acis CLOs would have

  been avoided. There was no pro-investor justification for how Defendants managed this

  investment.




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         101.    KCA Deutag. Defendant purchased this loan with a Caa1/CCC+ rating at the time

  of its purchase in April through May 2019. There was no justification to purchase loans with a

  Caa1/CCC rating as the implied credit quality is far too risky for a levered CLO structure. The

  purchase price averaged 85 cents on the dollar (i.e., of the face value of the loan), which also

  implies significant credit risk. Defendants ended up selling this loan six months later, on November

  18, 2019, at 65 cents on the dollar, locking in $1.8 million in losses to the Acis CLOs. The low

  credit rating and the fact that the loan had a long maturity date would have warned the Defendants

  that the loan lacked the credit quality and would not maintain or improve the credit quality of the

  portfolio; in fact, it would have certainly dragged the credit quality down. There was no pro-

  investor justification for how Defendants managed this investment.

         102.    Libbey Glass. This loan was being held by Acis for no apparent reason. Its credit

  was weak, B2/B, which is why it had not refinanced/extended already during a very strong 2018-

  2019 market. Defendants inexplicably held on to the loan which was downgraded to B3 in

  November 2019 and again to Caa2/CCC in March 2020. The issuer corporation filed for

  bankruptcy, and the loan was restructured into reorganized equity, essentially wiping out all the

  value from the lenders. Defendants’ decision to hold the loan throughout the entire downward

  process locked in $12.7 million of tangible losses to the Acis CLOs. There was no pro-investor

  justification for how Defendants managed this investment.

         103.    Carestream Health. This loan had B3/B- ratings. The credit was very weak, which

  was reflected by the ratings, and is why it had not refinanced/extended already during a very strong

  2018-2019 market. Following an S&P downgrade from B- to CCC+ in February 2020 (plus it

  remained on Creditwatch Negative), Defendants sold this loan across all portfolios on the same

  day (3/3/2020) at 75 cents on the dollar, locking in $4.8mm of realized losses to the Acis CLOs.




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         104.    Envision Healthcare. This loan had B2/B+ ratings at the time of purchase in April

  2019, because the loan had been recently issued in October 2018 with a standard seven-year

  maturity date of October 2025. The WAL of this loan was 6.5 years. The WAL Tests for the CLOs

  that bought this loan were failing at this time, meaning a loan purchased needed to main or improve

  the failing WAL Tests, which were all standing at less than 4.0 years or shorter. This was a

  purchase that clearly violated the CLOs’ indentures. The loan would go on to be downgraded to

  its current Caa2/CCC ratings. The loan is currently still held in the Acis CLO portfolios at a

  $1.5mm loss thus far.

         105.    Doncasters. This loan bore B3/B- ratings which means it was unlikely to be paid

  off or refinanced. While Defendants continued to hold the loan (which they should never have

  bought), Caa1/CCC-, and the manager sold the loan around July 1, 2020 at an average price of

  80.51, locking in $1.2mm of realized losses to the Acis CLOs in less than a year.

         106.    Lumileds (Bright Bidco). This loan is being held in violation of the CLOs’

  indentures. As of February 16, 2019, the loan had just recently been issued, and carried B1/B

  ratings and has a June 2024 maturity date, which was nearly six years from when it was bought in

  September 2018. The WAL Tests for the CLOs that bought this loan were failing at this time,

  meaning it failed to maintain or improve the failing WAL Tests, which were all standing at four

  years or shorter. In September 2019, the loan was downgraded to B3/CCC+, and in November

  2019, the loan’s ratings were downgraded again to Caa1/CCC+. The manager has not sold any of

  this loan to date. Today, the loan trades at 76-77, which is currently $2.2 million in losses to the

  Acis CLOs.

         107.    McGraw-Hill. This loan had B2/B ratings on February 16, 2019, and was

  downgraded by Moody’s to B3 in May 2019 and then again to Caa2 in August 2020. S&P




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  downgraded the rating to B- in May 2020 and to CCC+ in September 2020. This was a loan with

  a very weak credit profile, but seemingly one that the manager believed in, as this was one of the

  largest positions put on by the manager. However, after purchasing over $36mm across four CLOs

  from a period between August 2018 and December 2019, the manager decided to sell all of it on a

  single day – September 30, 2020 – at a price of 82.75, foregoing any chance of a par recovery.

  This loan was then fully paid off at 100 cents on the dollar roughly three months later in January

  2021. The sale at 82.75 cost the four CLOs a total of $5.9mm compared to the full paydown the

  CLOs would have received in January 2021 had the loans not been sold.

         108.    GIP III Stetson. The GIP Stetson loan bore low credit ratings of Ba3/B+, and more

  critically, was a loan that carried a 6+ year maturity (July 2025) that made purchasing it violate

  the indentures. The WAL of this loan did not maintain or improve the failing WAL Tests. By

  purchasing this loan—in addition to all the others herein—the manager was engaging in a scheme

  or artifice to deceive by manipulating the metrics of the indenture in bad faith. The manager was

  buying risky loans that never should have been included in the collateral pool. The loan was

  subsequently downgraded to B1/B-, and the manager sold this loan at 66 cents on the dollar

  between May 2020 and August 2020, locking in $1.5 million in damages to the Acis CLOs. It is

  also curious as to why the manager would then sell this loan down 34 points; not long after the

  loan was sold, the trading levels moved up materially, and is now trading at 96 cents on the dollar.

         109.    Boardriders. Purchased in March 2019, the loan had B3/B- ratings at the time of

  purchase, indicating heightened credit risk, and also had an April 2024 maturity date, which was

  5+ years from when it was purchased. The WAL Tests for the CLOs that bought this were failing

  at this time, meaning a loan purchased needed to main or improve the failing WAL Tests, which

  were all standing at 4.0 years or shorter. This was a purchase that in addition to heightened credit




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  risk, also violated the CLOs’ indentures. The loan is currently still held in the portfolios, has been

  downgraded to B3/CCC, and trades in the low-mid 90s, several points lower than where it was

  purchased, and reflects a loss of $442,193.

         110.    Premiere Brands (Nine West). This loan had B3/B- ratings at the time of purchase,

  including a Caa1 tranche rating on the loan, indicating heightened credit risk, and also had a March

  2024 maturity date, which is almost five years from when it was bought in April 2019. The WAL

  Tests for Acis 6, the CLO that bought this loan was failing at this time, meaning a loan purchased

  needed to main or improve the failing WAL Tests, and stood at 4.15 years. This was a purchase

  that in addition to heightened credit risk, also violated the CLOs’ indentures. Similar to other

  situations, the manager bought sixteen items on a single day which is a violation of the indenture

  and of best execution conventions. The loan has subsequently been downgraded to Caa2/CCC, is

  currently still held in the portfolios, and is quoted in the mid-high 60s, which is more than a

  $600,000 unrealized loss.

         111.    This summarizes much of the losses:

                                                           Commitment              Loss on
                              Issuer
                                                              Bought             Investment
                Libbey Glass                             12,750,000          $ (12,660,000)
                Chief Power                              10,894,048          (4,724,806)
                Lumileds Holding                         9,732,632           (2,181,083)
                KCA Deutag UK Finance PL                 8,992,443           (1,781,329)
                Glass Mountain Pipeline                  1,994,949           (1,548,280)
                Envision Healthcare                      13,994,987          (1,470,094)
                Doncasters                               9,730,000           (1,190,979)
                Premiere Brands                          2,000,000           (635,000)
                Boardriders                              6,569,202           (448,763)
                Total                                    76,658,262          $(26,640,333)


         112.    Another problem with these purchases is that they were often executed on the same

  day (purchasing in a single day tends to make an asset more expensive to buy) and were executed

  at a time when the market was flying high.


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            113.   This violated the best execution duties of the Defendants.

            114.   Additionally, many of the purchased “bad” assets were some of the cheapest assets

  on the market—but they were actually still overpriced. The market at the time was a seller’s

  market—loans were scarce. The most prudent course would have been to remain in cash or find

  far more secure short-term investments.

            115.   Defendants have furthermore caused the CLOs to sell certain collateral cheaply

  and prematurely. In other words, the RIA Defendants took over advising and managing the Acis

  CLOs with several credit-worthy assets, or they themselves luckily bought several credit-worthy

  assets.

            116.   The problem is that they then sold those assets, inexplicably, at a time when they

  knew they could not replace them with equal or improved assets.

            117.   Given that the Defendants had no intention of redeeming the CLOs (allowing

  investors to take their money out) or resetting them (raising new debt and opening a new

  investment period), the investors of the CLOs would have been best served had these “good”

  assets been allowed to simply mature.

            118.   These are illustrated here:

                                                           Commitment
                             Issuer                                                Lost Value
                                                               Sold
        McGraw-Hill Global Education                     34,288,241             ($5,914,722)
        Carestream Health                                20,644,508             (4,799,848)
        Advantage Sales & Marketing 1L                   27,038,364              (3,622,316)
        Advantage Sales & Marketing 2L                   10,688,828              (2,820,378)
        Mohegan Tribal Gaming                            12,153,419             (1,830,609)
        GIP III STETSON I                                5,169,653              (1,518,878)
        Advantage Sales & Marketing 1L                   6,510,157              (890,963)
        Party City                                       8,826,376              (822,638)
        Total                                            125,319,547             ($22,220,350)




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              119.   A more cynical person would be left to wonder who the purchasers of these assets

  were, and whether they were entities or persons related to Terry, or in which he had a hidden or

  surreptitious or beneficial interest.

              120.   These assets were sold well after the start of COVID—in late 2020. And so they

  were sold after they had hit their “COVID lows”—but the market had already shown it was roaring

  back in the last quarter of 2020.

              121.   The above assets were also sold on or about the same day, again, a breach of best

  execution practices.

              122.   The mix of assets, because of these knowingly errant purchases and sales, falls well

  below the acceptable, reasonable WARF, and pushed maturity of the portfolio out past any

  acceptable, reasonable WAL.

              123.   Both the indentures and the PMAs require Acis to seek best execution for all Acis

  assets. 5

  C. The Indenture Trustee Is Nowhere to be Found

              124.    In light of the foregoing, where was the adult in the room?

              125.   The Acis Indentures provide that U.S. Bank shall hold in trust, for the “benefit

  and security” of the noteholders, all “Collateral Obligations” that secure the co-issuers’ financial

  obligations to the noteholders.

              126.   In connection therewith, the Acis Indentures also          provide that, for future

  purchases and sales of collateral obligations, the Portfolio Manager and the Trustee shall only

  consummate these transactions where certain investment criteria are satisfied.




  5
      PMA Section 4(a); Indentures Section 12.2.


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         127.    One such criterion in the indenture is that, in order for trades to be combined under

  the WAL test, they cannot be more than +/- 2 years difference in the maturity dates. Here, that

  requirement was violated in almost all, if not all, of the bundled trades that the Defendants made

  or allowed to occur.

         128.    Another criterion is that, for all purchases, either (A) each requirement or test,

  as the case may be, of the Concentration Limitations and the Collateral Quality Test will be

  satisfied, or (B) if any such requirement or test was not satisfied immediately prior to such

  reinvestment, such requirement or test will be maintained or improved after giving effect to the

  reinvestment. See, e.g., Indenture 5 § 12.2(a)(iv). The Acis Indentures define “Collateral Quality

  Test” as:

              A test satisfied if, as of any date of determination . . . in the aggregate,
              the Collateral Obligations owned (or, for purposes of pro forma calculations in
              relation to a proposed purchase of a Collateral Obligation, proposed to be
              owned) by the Issuer satisfy . . . the Maximum Moody’s Rating Factor Test
              . . . [and the] Weighted Average Life Test.

         129.    These tests are defined, in turn, as follows:

              “Maximum Moody’s Rating Factor Test”: The test that will be satisfied
              on any date of determination if the Weighted Average Adjusted Moody’s
              Rating Factor 6 of the Collateral Obligations is less than or equal to the
              l e s s e r o f ( i ) t h e s u m o f ( A ) t h e number set forth in the column
              entitled “Maximum Weighted Average Moody’s Rating Factor” in the

     6
       “Weighted Average Adjusted Moody’s Rating Factor” means “[a]s of any date of determination, a
   number equal to the Weighted Average Moody’s Rating Factor determined in the following manner:
   for purposes of this definition, the last paragraph of the definition of “Moody’s Default Probability
   Rating,” the second to last paragraph of the definition of “Moody’s Rating” and the last paragraph
   of the definition of “Moody’s Derived Rating” will be disregarded, and instead each applicable rating
   on credit watch by Moody’s that is on (a) positive watch will be treated as having been upgraded by one
   rating subcategory, (b) negative watch will be treated as having been downgraded by two rating
   subcategories and (c) negative outlook will be treated as having been downgraded by one rating
   subcategory. See, e.g., Indenture 5 at 64-65.
     “Weighted Average Moody’s Rating Factor” means “[t]he number (rounded up to the nearest whole
   number) equal to: (i) the sum of the products of (a) the Principal Balance of each Collateral Obligation
   (excluding Equity Securities) multiplied by (b) the Moody’s Rating Factor of such Collateral
   Obligation, divided by (ii) the Aggregate Principal Balance of all such Collateral Obligations.” Id.


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                Moody’s Asset Quality Matrix, based upon the applicable “row/column
                combination” chosen by the Portfolio Manager with notice to the
                Collateral Administrator . . . plus the Excess Recovery Adjustment
                Amount.

                “Weighted Average Life Test”: A test that is satisfied if the Aggregate
                Weighted Average Life 7 on such date of determination is not later than
                November 18, 2022.

   Indenture 6 at 37-38, 64.

            130.    These provisions seek to maintain the integrity and performance of the portfolio of

  collateral securing the co-issuers’ obligations by requiring certain parties, including the Portfolio

  Managers and the Trustee, to ensure that any purchase or sale of such collateral complies with

  detailed, industry-recognized, and bargained-for tests – the exact investor protections that

  Plaintiff relied on when it invested in the Acis CLOs.

            131.    The Acis Indentures also provide that, in performing its duties as Indenture Trustee,

  U.S. Bank may not “authorize or consent to or vote for or accept or adopt on behalf of any

  Secured Noteholders, any plan of reorganization, arrangement, adjustment or composition

  affecting the Secured Notes or any Holder thereof”. 8

            132.    Similar to the provisions concerning collateral quality, these provisions also seek

  to ensure that the Trustee does not prejudice the rights of any noteholder under the ACIS

  Indentures, such as Plaintiff.




       “Aggregate Weighted Average Life” means “[w]ith respect to all Collateral Obligations as of
        7

   any date of determination is a date equal to (A) the actual number of years (…) following such date
   obtained by (i) summing the products obtained by multiplying the Weighted Average Life at such time of
   each Collateral Obligation by the Principal Balance at such time of such Collateral Obligation and (ii)
   dividing such sum by the Aggregate Principal Balance at such time of all Collateral Obligations plus (B)
   such date of determination. Id. at 6.


    8
        erAcis Indenture Section 5.3.


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          133.   In addition to requiring that U.S. Bank observe certain safeguards, the ACIS

  Indentures also grant U.S. Bank the broad power to “execute any of the trusts or powers

  hereunder or perform any duties hereunder either directly or by or through agents, nominees,

  custodians, or attorneys.”

          134.   As set forth above, U.S. Bank and the Portfolio Manager must ensure that every

  purchase made under the Acis Indentures satisfies the Collateral Quality Tests, including the

  Weighted Average Life Test (“WAL Test”) and the Minimum Weighted Average Moody's

  Recovery Rate Test (“WAM Test”), or maintains or improves any failing collateral quality tests.

  They failed to satisfy these obligations.

          135.   For one thing, U.S. Bank and the Portfolio Manager effectuated or facilitated

  certain transactions that did not satisfy the WAL test or maintain or improve such failing WAL

  test.

          136.   Specifically, they made multiple same-day trades and consolidated the weighted

  average maturity date for these trades. In so doing, they created the false appearance of a

  maintained or improved WAL test.

          137.   Absent this consolidation, the same-day purchases could not have maintained or

  improved the failing WAL tests on individual bases.

          138.   Furthermore, U.S. Bank is obligated to seek best execution on trades reasonably

  available to the Acis CLOs.

          139.   By allowing multiple same day trades, U.S. Bank disregarded the Acis Indenture

  obligation which requires the maintenance or improvement of the Collateral Quality Test for each

  individual trade made in each respective Acis CLO.




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          140.    Also, U.S. Bank allowed, and continues to allow, a circumvention of these

  collateral quality requirements by allowing the consolidation of the weighted average maturity

  date of such same-day trades, and in so doing, created the false appearance of a maintained or

  improved WAL test. But, absent consolidation, the same-day purchases allowed by U.S. Bank

  cannot maintain or improve the WAL test on an individual basis.

          141.    U.S. Bank cannot perform its duties by allowing such Acis CLOs to act as a

  market taker, nor by engaging in a practice of buying long collateral that is improper under the

  Acis Indentures.

          142.    In short, U.S. Bank, as Indenture Trustee, should never have allowed the “bad”

  loans to have been bought at all—much less on the same day or bundled with other loans.

          143.    And it should not have allowed the quality loans that were prematurely sold to

  have been sold—especially such that they were dumped in a short period of time.

          144.    U.S. Bank was required to reserve and protect the CLO investors’ rights impacted

  by the Acis Bankruptcy.

         145.    It failed to protect the noteholders and the equity from certain rulings promoted

  by Terry and Brigade which have handicapped Plaintiff and those in its classes.

         146.    It failed to mount any challenge or fight liability and expense that might be

  incurred as a result of Plan D.

         147.    It failed to exercise any care in connection with the payment of expenses;

  collecting and distributing the interest and dividends due on the portfolio securities; and

  providing CLO noteholders with periodic reports concerning the interest received, amounts

  distributed and securities in the portfolio.




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            148.   Notably, no provisions of the Acis Indentures “shall be construed to relieve the

  Trustee from liability for its own negligent action, its own negligent failure to act, or its own

  willful misconduct.”

                                                       V.

                                          CAUSES OF ACTION

                                              COUNT ONE
                                      Violations of the Advisors Act
                                       Against the RIA Defendants

            149.   Plaintiff incorporates the foregoing factual averments as if set fully set forth

  herein.

            150.   As registered investment advisors, the RIA Defendants are subject to the Advisers

  Act, 15 U.S.C. § 80b-1 et seq.

            151.   The Advisers Act establishes an unwaivable federal fiduciary duty for investment

  advisers. 9

            152.   The RIA Defendants’ fiduciary duties are broad and apply to the entire advisory

  relationship. The core of the fiduciary duty is to follow the indenture and the PMA, and to do so

  in a manner that always is in the best interest of their investors—the advisor must put the ends of

  the client before its own ends or the ends of a third party.




    9
      See, e.g,, SEC v. Capital Gains Research Bureau, Inc., 375 U.S. 180, 194 (1963); Transamerica Mortg.
  Advisors (tama) v. Lewis, 444 U.S. 11, 17 (1979) (“§ 206 establishes ‘federal fiduciary standards’ to govern
  the conduct of investment advisers.”); Santa Fe Indus, v. Green, 430 U.S. 462, 471, n.11 (1977) (in
  discussing SEC v. Capital Gains, stating that the Supreme Court’s reference to fraud in the “equitable”
  sense of the term was “premised on its recognition that Congress intended the Investment Advisers Act to
  establish federal fiduciary standards for investment advisers”). See also Investment Advisers Act Release
  No. 3060 (July 28, 2010) (“Under the Advisers Act, an adviser is a fiduciary whose duty is to serve the best
  interests of its clients, which includes an obligation not to subrogate clients’ interests to its own”) (citing
  Proxy Voting by Investment Advisers, Investment Advisers Act Release No. IA-2106 (Jan. 31, 2003)).


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          153.     This is manifested in a duty of loyalty and a duty of utmost care, which include a

  duty of transparency. It also means that the RIA has to follow the terms of the agreements and

  the regulations that apply to the investment vehicle.

          154.     The fiduciary duty that the RIA Defendants owed to Plaintiff is one that is

  predicated on trust and confidence. Section 204A of the Advisers Act requires investment

  advisors (whether SEC-registered or not) to establish, maintain, and enforce written policies and

  procedures reasonably designed to reflect the RIA’s fiduciary duties and to prevent the RIA from

  violating disclosure rules. See 17 C.F.R. § 275.206(4)-7. That also entails the RIA’s duty to

  disclose all facets surrounding potential conflicts of interest and to report their own malfeasance

  to investors.

          155.     Specifically, for all conflicts of interest, the RIAs must disclose those conflicts to

  the clients verbally, in writing, on Form ADV or a combination of the foregoing, 10 and obtain

  the client’s consent. 11

          156.     Where an RIA trades on its own behalf or places its interests above the advisee or

  its investors, the Advisers Act holds such RIA liable to the advisee and its investors for breach

  of fiduciary duty.


    10
       General Instruction 3 to Part 2 of Form ADV (stating that an adviser’s disclosure obligation “requires
  that [the adviser] provide the client with sufficiently specific facts so that the client is able to understand
  the conflicts of interest [the adviser has] and the business practices in which [the adviser] engage[s], and
  can give informed consent to such conflicts or practices or reject them”)
    11
       Investment Advisers Act Release 3060, supra; General Instruction 3 to Part 2 of Form ADV (“Under
  federal and state law, you are a fiduciary and must make full disclosure to your clients of all material facts
  relating to the advisory relationship. As a fiduciary, you also must seek to avoid conflicts of interest with
  your clients, and, at a minimum, make full disclosure of all material conflicts of interest between you and
  your clients that could affect the advisory relationship. This obligation requires that you provide the client
  with sufficiently specific facts so that the client is able to understand the conflicts of interest you have and
  the business practices in which you engage, and can give informed consent to such conflicts or practices or
  reject them.”). See also Robare Group, Ltd., et al. v. SEC, 922 F.3d 468, 472 (D.C. Cir. 2019) (“[R]egardless
  of what Form ADV requires, [investment advisers have] a fiduciary duty to fully and fairly reveal conflicts
  of interest to their clients.”).


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          157.    The Advisers Act’s regulations and provisions require full transparency and

  accountability to an advisers’ investors and clients.

          158.    This duty is embodied in Section 206 of the Advisers Act, 15 U.S.C. § 80b-6,

  which prohibits registered investment advisors from using any instrumentality of interstate

  commerce, directly or indirectly, as a means or in support of “any device, scheme, or artifice to

  defraud any client or prospective client,” “to engage in any transaction, practice, or course of

  business which operates as a fraud or deceit upon any client or prospective client,” or to “engage

  in any act, practice, or course of business which is fraudulent, deceptive, or manipulative.”

          159.    Section 206 of the Adviser’s Act focuses on the use of the unlawful means or

  artifice —it does not require that the activity be in connection with an offer or sale of any security,

  or in connection with a purchase or sale to or from the advisee. It requires neither evidence of

  reliance or materiality.

          160.    The RIA Defendants utilized the interstate wires and mails, including but not

  limited to utilizing telephones and email communications, and trading on national exchanges in

  order to effectuate one or more of the transactions referred to in this Complaint, all while engaged

  in a scheme to manipulate their fees earned by inflating the par value of the portfolio in aggregate.

          161.    There is no plausible pro-investor reason for doing that.

          162.    The RIA Defendants utilized interstate wires and mails as part of their business

  and transactions both in effectuating the inflated expenses, passing them on to the ACIS-3 and 6

  accounts, withdrawing and manipulating the funds required to pay said expenses and fees,

  communications regarding same, and executing the purchases and sales of collateral that have

  decimated the value of ACIS-3 and ACIS 6.

          163.    There is no plausible pro-investor reason for doing that.




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         164.    The RIA Defendants have engaged in a practice or course of business consisting

  of passing off expenses, without disclosure or accountability, that were incurred by Acis (the

  Advisor), as if they were expenses of the CLOs—the advisees. By doing so, the RIA Defendants

  affirmatively misrepresented the character and nature of those expenses and directly assessed

  their managed entities their pro rata share.

         165.    There is no plausible pro-investor reason for doing that.

         166.    The RIA Defendants have engaged in transactions as part of a course of business

  to manipulate, and which operates as a fraud or a deceit on the CLO investors. Its acts and

  omissions include purchasing non-creditworthy assets identified above at unfavorable prices and

  in an unfavorable market, in violation of their fiduciary duties and agreements (the indenture and

  the PMA). These include but are not limited to employing a scheme or artifice to charge millions

  in expenses that it incurred, to the advised funds; trading in securities as a naked means of

  maximizing the notional value of the CLO Assets which directly translates into higher fees, and

  at the same time purchasing loans with maturity dates far into the future, as a means of

  maximizing the time it can earn those fees. By doing so, the RIA Defendants have engaged in

  transactions that operate as a deceit or fraud upon their ultimate clients such as Plaintiff.

         167.    There is no plausible pro-investor reason for doing that.

         168.    The RIA Defendants have engaged in transactions such as selling qualified assets

  prematurely without being able to replace them, all to the detriment of the investors including the

  Plaintiff. The bona fide purpose of these acts and omissions, which doubtfully exists, has been

  concealed and not disclosed. However, the obvious reason for doing so is to increase the amount

  and duration that the RIA Defendants can continue to collect their fees.

         169.    There is no plausible pro-investor reason for doing that.




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         170.       The RIA Defendants have engaged in a deceptive and manipulative course of

  conduct by purchasing bundled loans or loans on the same day as a means of making them appear

  to be creditworthy and have proper maturity dates and have misrepresented whether such

  transactions were compliant with the indenture and with the RIAs’ fiduciary duties to the Plaintiff

  and to the Indenture Trustee. The obvious reasons for doing so was plainly to escape detection

  of their wrongful conduct.

         171.       These trades not only violate the various fiduciary duties of the Advisers Act, but

  also violate the indentures’ requirements not to bundle trades unless the maturity dates among

  the loans purchased and bundled are within +/- 2 years, and are part of a pre-approved trading

  plan. The RIA Defendants violated both of these planks, and such trades should not have been

  pre-approved even if they were presented prior to the trades.

         172.       The RIA Defendants have engaged in a deceptive, manipulative course of conduct

  and continue to do so in violation of the Advisers Act and its regulations and rules thereunder.

         173.       If it is discovered that the RIA Defendants have mislead or otherwise

  compromised the Indenture Trustee’s ability or willingness to police their malfeasance by

  submitting misleading reports or documentation to the Trustee, or have otherwise manipulated

  the Trustee by submitting false reports or justifications, then those actions will be added as a

  basis for damages under this Count.

         174.       Based upon the foregoing, Plaintiff has been injured and suffered damages due to

  the violations.

         175.       The Adviser’s Act declares any contract void that is made in violation of any of

  the Advisers Act’s provisions, rules or regulations, or where the performance of the contract

  involves the violation of, or the continuance of any relationship or practice in violation of the




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  Advisers Act, or any rule, regulation, or order issued thereunder. See 15 U.S.C. § 80b-15. Thus,

  the agreements between Acis and any third party in any transaction in violation of the Advisers

  Act as alleged herein for ACIS-3 and/or ACIS-6, are void or voidable at the option of the

  aggrieved party, and the RIA Defendants are liable to Plaintiff to account for their share of the

  losses. Moreover, the RIA Defendants’ rights under the indenture and PMAs are void due to the

  breaches of the Advisers Act committed in violation thereof, and thus the RIA Defendants are

  liable in restitution and disgorgement to Plaintiff for its pro rata share of the losses.

          176.    Plaintiff thus seeks all legal and equitable remedies to which it is entitled.

                                           COUNT TWO
                                      Breach of Fiduciary Duty
                                     Against the RIA Defendants

          177.    Plaintiff incorporates all foregoing factual averments and the factual and legal

  averments in Count One as if set fully set forth herein.

          178.    As registered investment advisors, the RIA Defendants are subject to the Advisers

  Act. The Advisers Act establishes an unwaivable federal fiduciary duty for investment advisers.

          179.    The RIA Defendants’ fiduciary duties are broad and apply to the entire advisory

  relationship. The core of the fiduciary duty is to always act in the best interest of their investors—

  the advisor must put the ends of the client before its own ends or the ends of a third party.

          180.    This is manifested in a duty of loyalty and a duty of utmost care. It also means

  that the RIA has to follow the terms of the agreements and the regulations that apply to the

  investment vehicle. The fiduciary duty that the RIA Defendants owed to Plaintiff is predicated

  on trust and confidence and to not commit corporate waste.




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          181.   The Advisers Act’s regulations and provisions require full transparency and

  accountability to an advisers’ investors and clients and does not require a showing of reliance or

  materiality.

          182.   These duties are extra-contractual and cannot be waived.

          183.   The RIA Defendants have breached their fiduciary duties of transparency by failing

  to fulsomely justify and document their activities with investors. This is a breach of the duty of

  loyalty because it is plainly a means to concealing the true extent of the malfeasance and damage

  done.

          184.   The RIA Defendants have breached their fiduciary duties by committing corporate

  waste in two forms: by incurring unnecessary expenses or improperly imposing expenses on the

  Acis CLOs that should not have been, and by prematurely selling quality assets for discounts

  without proper basis. The RIA Defendants should have known that the market was rising, and

  should not have sold the assets in such a short time span because doing so violated best execution

  rules. Those rules are in place to avoid precisely what happened here.

          185.   The RIA Defendants have breached their fiduciary duties by recklessly and

  knowingly purchasing assets that were below the requisite creditworthiness and allowing the

  WARF and the WAL to expose Plaintiff to unjustified risk. As set forth in more detail above, Acis

  breached its duty by mismanaging the portfolios of the ACIS 3 and 6, and by failing to ensure that

  new trades complied with the collateral quality tests as set forth above.

          186.   Key to these duties is the duty to preserve the equity interests NexPoint holds and

  to refrain from self-dealing. Among other things, the RIA Defendants assumed obligations that

  affected NexPoint’s rights, and NexPoint detrimentally relied on Acis’s continued performance of

  such obligations. However, the RIA Defendants plainly concocted a scheme to enrich themselves




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  at the expense of NexPoint, which is an independent breach of fiduciary duty.

          187.    The RIA Defendants have further aided and abetted the breaches by U.S. Bank, as

  described in Count Three (the acts of which are incorporated by reference herein).

          188.    The RIA Defendants are thus liable for damages, punitive damages, and all other

  such relief to which Plaintiff is justly entitled.

                                            COUNT THREE
                                           Breach of Contract
                                              Against Acis

          189.    Plaintiff incorporates the foregoing factual averments as if set fully set forth herein.

          190.    Section 11(a)(i) of the PMAs expressly holds Acis liable for any decrease in the

  value of the CLOs that was accomplished by bad faith, willful misconduct, gross negligence or

  reckless disregard in the performance of its obligations.

          191.    The PMAs further give Acis the discretion to allocate and manage the CLO assets,

  and to incur expenses on behalf of the CLOs for services for the benefit of the CLOs.

          192.    The indentures to which Acis is a party further require Acis to manage the CLO

  Assets in a manner so as to maintain or improve the credit quality of the portfolio, subject to the

  Collateral Quality Tests as defined above.

          193.    The PMAs and indentures at issue here select New York law, and under New York

  law, every contract contains an implied duty of good faith and fair dealing.

          194.    Acis has breached these agreements and caused the CLOs to incur expenses that,

  upon information and belief, go well beyond what is contractually permissible to allocate to the

  CLOs.

          195.    Acis has breached these agreements and manipulated the CLO Assets in a way that

  prolongs itself and maximizes fees at the expense of the CLO investors such as NexPoint.




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         196.      These breaches of contract has caused damage to the CLOs and, therefore, to

  NexPoint.

         197.      NexPoint alleges and avers that it may bring this breach of contract claim directly

  to the extent it and Acis are parties to the indentures, and to the extent the indentures incorporate

  the PMAs and the duties therein. If NexPoint is required to bring this claim derivatively, it hereby

  does so and avers that any pre-suit demand would have been futile because asking ACIS-3 or

  ACIS-6 to bring suit where they are controlled by the Defendants would have been futile.

         198.      NexPoint thus seeks its damages, attorneys’ fees, restitution, disgorgement, and any

  and all other remedies to which it is justly entitled.

                                           COUNT FOUR
                                    Breach of Trust Indenture Act
                                          Against US Bank

         199.      Plaintiff incorporates the foregoing factual averments as if set fully set forth herein.

         200.      US Bank’s role as trustee is governed in part by the Trust Indenture Act of 1939,

  as amended by the Trust Indenture Reform Act of 1990.

         201.      The Trust Indenture Act of 1939 (the “Act”), codified at 15 U.S.C. §§ 77aaa et seq.,

  is designed to protect bond investors.

         202.      The Act, as amended, codifies under federal law an Indenture Trustee’s fiduciary

  duty to the bondholders and holders of investors in debt securities.

         203.      It also requires an issuer like ACIS-3 or ACIS-6 to provide periodic reports to the

  Indenture Trustee.

         204.      An indenture trustee’s core duty is to monitor and ensure that the issuer has not

  defaulted under the indenture or other transaction documents. It must report any such default that

  it recognizes.




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          205.    Prior to a default, an indenture trustee’s primary duty is to follow the indenture.

          206.    After a default, an indenture trustee’s duty is to report the default within 90 days,

  and take all actions necessary and proper to protect the investors. Pursuant to Section 315 of the

  Trust Indenture Act, in the case of a default, the trustee must use the same degree of care

  and skills in the exercise of its rights and powers as a “prudent man would exercise or use under

  the circumstances in the conduct of his own affairs.” Adequate notice must be provided to all

  security holders in accordance with Section 313 of the Trust Indenture Act so that they may

  also exercise their rights.

          207.    Section 317 of the Trust Indenture Act provides the trustee with special powers,

  in the case of a default, to: recover judgment, in the trustee’s own name and as trustee of an

  express trust, against the obligor for the whole amount of such principal and interest remaining

  unpaid, and file such proofs of claim and other papers or documents as may be necessary or

  advisable in order to have the claims of the trustee and of the security holders allowed in

  any judicial proceedings.

          208.    An Indenture Trustee may not have conflicts of interest.

          209.    US Bank had a conflict of interest when it became a creditor of the Acis CLOs in

  the Acis Bankruptcy and sought to claim its exorbitant attorneys’ fees—fees incurred for actions

  that in no way protected the interests of the investors in the Acis CLOs.

          210.    None of these duties are waivable in any way. See 15 U.S.C.S. § 77aaaa (“Any

  condition, stipulation, or provision binding any person to waive compliance with any provision of

  this subchapter[Trust Indenture Act, as modified, 15 USCS §§ 77aaa et seq.] or with any rule,

  regulation, or order thereunder shall be void.”).

          211.    Here, US Bank as the Indenture Trustee had the obligation to submit the approvals




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  for Plan D, and to object to the effects of Plan D, on behalf of the noteholders, such as NexPoint.

          212.     US Bank failed to do so.

          213.     US Bank further failed to ensure that the RIA Defendants were managing the CLO

  Assets in a manner that “maintained or improved” the credit quality of the portfolio. Instead, it

  appears that US Bank assisted, or capitulated.

          214.     US Bank has not reported, nor taken action against the RIA Defendants despite the

  obvious defaults committed by them as reported herein.

          215.    US Bank has thus violated the Act in numerous ways and can and should be held

  liable for the losses suffered by Plaintiff.

          216.      U.S. Bank’s breaches, set forth herein, have damaged Plaintiff in not less than

  $8,000,000.00.

                                            COUNT FIVE
                                       Breach of Fiduciary Duty
                                           Against US Bank

          217.     Plaintiff incorporates the foregoing factual averments as if set fully set forth herein.

          218.     U.S. Bank has an extra-contractual duty to perform all basic, non-discretionary,

  ministerial tasks under the Acis indentures with due care.

          219.     This duty subjects U.S. Bank to tort liability.

          220.      U.S. Bank breached this duty in at least two ways.

          221.      First, U.S. Bank breached this duty by permitting the Acis Indentures to incur

  exorbitant expenses, which have diminished the equity that Plaintiff owns indirectly pursuant to

  the Acis Indentures.

          222.      Second, U.S. Bank breached its duty by negligently failing to act, and by

  accepting the entry of “Plan D” in the Bankruptcy Proceeding, which directly affects the secured



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  noteholders. Among other things, Plan D adversely impacts the rights of Plaintiff by imposing

  an injunction that prohibits beneficial trading activity and impeding the ability of noteholders to

  make optional redemptions.

          223.      U.S. Bank’s omission to act was not in good faith. In 2018, U.S. Bank filed

  multiple pleadings in the Bankruptcy Proceeding, including, but not limited to, a Reservation of

  Rights, and Limited Objections to the entry of the predecessor plans to Plan D. U.S. Bank failed

  to take any action whatsoever in regard to Plan D.

          224.      These breaches were the proximate cause of damages to Plaintiff.

          225.      Based on investigation to date, such damages include, but are not limited to,

  Plaintiff’s inability to make certain trades or redemptions, which restriction has decreased the

  value of Plaintiff’s investment across the capital stack of each contract. They also include the

  diminished value of the collateral securing the issuer and co-issuer’s financial obligations to

  Plaintiff. U.S. Bank’s failure to reserve or otherwise protect Plaintiff’s rights impacted by the

  Bankruptcy Proceeding has caused it to suffer damages.

          226.      U.S. Bank has an extra-contractual duty to avoid conflicts of interest.

          227.      This duty subjects U.S. Bank to tort liability.

          228.      U.S. Bank is prohibited from advancing its own interests at the expense of

  Plaintiff, its investor.

          229.      U.S. Bank breached this duty by, among other things, facilitating extensive

  portfolio mismanagement and failing to ensure compliance with the collateral quality tests in

  order to artificially maximize management fees. Such facilitation of noncompliant trades gives

  rise to an inference of bad faith.




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          230.       U.S. Bank also breached this duty by allowing the Acis indentures to incur

  exorbitant fees which have diminished the equity that Plaintiff owns indirectly pursuant to the

  Acis Indentures.

          231.       U.S. Bank’s breaches were the proximate cause of damages to Plaintiff.

          232.       Based on investigation to date, such damages include, but are not limited to, the

  diminished value of the collateral securing the issuer and co-issuer’s financial obligations to

  Plaintiff.

          233.    U.S. Banks conduct was knowing and willful, and done in disregard of known and

  established safeguards which are implemented and created in the industry in order to avoid well

  known, foreseeable risks.

          234.    Defendant’s acts and omissions were taken in reckless disregard of these known

  risks. U.S. Bank’s breaches, set forth herein, have damaged Plaintiff in not less than $8,000,000.00.

  U.S Bank is thus liable for damages, punitive damages, attorneys’ fees, and costs, as well as

  restitution and disgorgement.

          235.    Furthermore, US Bank knew, or should have known, that the RIA Defendants were

  violating the various regulations of the Advisers Act and the indenture. The Advisers Act thus

  declares US Bank’s rights under the indenture void, and US Bank is liable for the return of all

  funds paid to it under the indenture.

                                            COUNT SIX
                                             Negligence
                                        Against All Defendants

          236.    Plaintiff incorporates the foregoing factual averments as if set fully set forth herein.

          237.    To the extent any Defendant would be liable for any of the foregoing causes of

  action before their lack of sufficient intent or willful actions, Plaintiff pleads in the alternative that




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  such Defendant’s acts or omissions were negligent.

           238.   The Defendants owed Plaintiff a duty of care in managing the investments of the

  CLOs and in discharging their duties under the Investment Advisors Act, and under the indentures

  and PMAs.

           239.   The Defendants acts and omissions in violation of the duties outlined herein have

  resulted in substantial losses to the Plaintiff, totaling $8,000,000 or more.

           240.   The Defendants conduct was knowing and willful, and done in disregard of known

  and established safeguards which are implemented and created in the industry in order to avoid

  well known, foreseeable risks.

           241.   Defendants’ acts and omissions were taken in reckless disregard of these known

  risks.

           242.   Defendants are thus liable for negligence, and gross negligence.

           243.   Plaintiff is thus entitled to damages, punitive damages, attorneys fees, and costs as

  the law provides and to which it is justly entitled.




                                         COUNT SEVEN
                                            Conversion
                                       Against Acis and Terry

           244.   Plaintiff incorporates the foregoing factual averments as if set fully set forth herein.

           245.   The Acis CLOs are obligated to pay specific and identifiable Administrative

  Expenses and other costs and expenses. The payment of these expenses is pulled from a reserve of

  specific and identifiable equity which includes funds belonging to NexPoint, to the extent it is an

  equity holder under the Acis CLOs.



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         246.     As a noteholder and equity holder, NexPoint had ownership and a right to the

  property used to pay the Acis CLOs’ administrative expenses and costs before the property’s

  conversion.

         247.     In allowing the payment of uncharacteristically high expenses upwards near twenty

  times their historical amount—Terry, upon information and belief, wrongfully and improperly

  reimbursed Acis, and potentially himself, using Plaintiff’s property designated for the payment of

  the Acis CLOs’ Administrative Expenses and costs.

         248.     Upon information and belief, Terry wrongfully and improperly reimbursed Acis

  and potentially himself, by using Plaintiff’s property designated for the payment of the Acis CLOs’

  administrative expenses and costs, and by allowing the payment of uncharacteristically high

  expenses upwards nearly 20 times their historical amount

         249.     An action for the conversion of using Plaintiff’s property designated for the

  payment of the Acis CLOs’ administrative expenses and costs lies based on this conduct. The

  property at issue is a specific, identifiable fund that has an obligation to be returned or otherwise

  treated in a particular manner.

                                                  VI.

      REQUEST TO PIERCE ACIS CAPITAL MANAGEMENT’S CORPORATE VEIL

         250.     Plaintiff hereby alleges and incorporates the preceding allegations as if fully set

  forth herein.

         251.     Terry has exercised complete domination over Acis.

         252.     As described herein, Terry used such domination to commit a fraud or wrong that

  injured Plaintiff. Terry abused the privilege of doing business as Acis to amass the unprecedented




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  expenses of the Acis CLOs, which was up to twenty times their historical expense rate, among

  other wrongs.

         253.     These expenses and Acis’s refusal to provide the accounting requested by certain

  noteholders under the Acis Indentures, creates an inference of impropriety. Further, the foregoing

  conduct raises an inference that expenses under the Acis CLOs are being improperly reimbursed.

         254.     The circumstances described herein warrant the disregard of Acis’s corporate form,

  in particular, because Courts in this District will disregard the corporate form when necessary to

  prevent fraud or to achieve equity.

         255.     Plaintiff respectfully requests that the Court pierce the corporate veil of Acis such

  that Acis and Terry are jointly and severally liable for the wrongful conduct described herein, to

  the extent such conduct would otherwise only be attributable to Acis alone.

                                                  VII.

                                    CONDITIONS PRECEDENT

         256.     Pursuant to Federal Rule of Civil Procedure 9(c), Plaintiff hereby pleads that all

  conditions precedent have occurred or been performed. Although the Acis Indentures contain “no-

  action” clauses that require certain noteholders to make written request to U.S. Bank to institute

  any judicial proceedings in its own name, the Second Circuit has held that noncompliance with a

  no-action provision is excused in a suit against the indenture trustee. See Cruden v. Bank of N.Y.,

  957 F.2d 961, 968 (2d Cir. 1992) (“The district court held that the ‘no action’ clause applied only

  to the debenture holder suits against [the issuer], not the Indenture Trustees . . . This construction

  of [the limitation on suits provision] obviously is correct, as it would be absurd to require the

  debenture holders to ask the Trustee to sue itself.”).




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         257.     To the extent any claim herein is more properly characterized as a derivative claim,

  Plaintiff submits that any condition precedent to such claim has been satisfied, and that any pre-

  suit demand would have been futile because the defendants control both ACIS-3 and ACIS-6, and

  the Trustee who is empowered to bring suit failed to do so despite numerous written requests.

                                                  VIII.

                               DEMAND FOR ATTORNEYS’ FEES

         258.     Pursuant to Section 5.15 of the Acis indentures, Plaintiff hereby makes a demand

  for the attorneys’ fees and court costs it has sustained in bringing this action.

         259.     Plaintiff further seeks attorneys fees to the extent they are authorized by contract,

  law, regulation, or common law.

                                                   IX.

                                        PRAYER FOR RELIEF

         260.     All causes of action and requested relief are hereby expressly intended to be

  predicated solely on the alleged acts and omission occurring after the effective date of the

  Bankruptcy Order dated February 15, 2019.

         261.     Plaintiff respectfully request that judgment be entered in its favor and against

  Defendants U.S. Bank, Acis, Terry, and Brigade as follows:

             A. Damages in an amount to be determined at trial;

             B. Punitive damages in an amount to be determined at trial;

             C. Disgorgement of wrongfully paid fees and expenses and restitution thereof, in an
                amount to be determined at trial;

             D. Disgorgement of any and all ill-gotten gains in an amount to be determined at trial;

             E. Attorneys’ fees and costs;

             F.   Constructive trust;


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            G. All other legal and equitable relief to which Plaintiff is justly entitled.



  Dated: May 14, 2021                                  Respectfully submitted,

                                                       SBAITI & COMPANY PLLC

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